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                          UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO

 THE UNITED STATES OF AMERICA,                  Case No. 4:16-cv-00401-DCN
 ex rel. RAFTER H CONSTRUCTION,
 LLC, an Idaho limited liability company,       ORDER ON UNITED STATES’
 and NEAL HIKIDA,                               NOTICE OF INTERVENTION FOR
                                                THE PURPOSE OF SETTLEMENT
                Plaintiffs,                     AND REQUEST THAT CASE BE
                                                UNSEALED
        v.

 BIG-D CONSTRUCTION CORP., a Utah
 corporation, and BIG-D
 CORPORATION, a Utah corporation, and
 DOE DEFENDANTS 1-20,

                Defendants.

       The United States of America (“United States”), Relators Rafter H Construction,

LLC and Neal Hikida (“Relators”), and Defendant Big-D Construction (“Big-D”) have

reached an agreement to settle the Relators’ allegations on behalf of the United States

under the False Claims Act, 31 U.S.C. §§ 3729-3733. The United States has notified the

Court of its decision to intervene in this action for the purpose of effectuating the

Settlement Agreement. The United States has also requested that the Court unseal

portions of the Court’s file in this case. Having reviewed the United States’ Notice of

Intervention and Settlement, it is

       ORDERED AND ADJUDGED as follows:

       1.     The Relators’ Complaint, the United States’ Notice of Intervention For

Purpose of Settlement, and this Order shall be unsealed.




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       2.     All other contents of the Court’s file in this matter should remain under

seal and not be made public or served upon the defendant.

       3.     The seal is lifted as to all matters occurring in this action after the date of

this Order.


                                                   DATED: March 7, 2018


                                                   _________________________
                                                   David C. Nye
                                                   U.S. District Court Judge




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